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                                    #3648



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

PEDRO BARRIOS-CASTENEDA,
a/k/a Amadeo Zamudio-Chavez,

      Defendant.                                        No. 04-cr-30029-DRH-2

                                    ORDER

HERNDON, Chief Judge:

      Pending before the Court is defendant Pedro Barrios-Casteneda’s pro se

petition for revocation of supervised release (Doc. 540). The government’s

response (Doc. 542) moves to dismiss its pending petition for revocation of

defendant’s supervised release (Doc. 533), terminate the warrant (Doc. 535), and

lift the detainer filed in this case. As the Court GRANTS the government’s

requested relief (Doc. 542), defendant’s motion is rendered MOOT (Doc. 540).

      Instantly, defendant requests the Court resolve the government’s pending

petition for revocation of defendant’s supervised release (Doc. 533). The

government responds that in December of 2011, a petition for warrant was filed

in this case (Doc. 533) seeking revocation of defendant’s supervised release after

defendant allegedly committed the offense of attempted entry after deportation.

The petition recommended a guideline sentencing range of 4-10 months.




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      On April 9, 2012, in the United States District Court for the Southern

District of California, defendant pled guilty to an information, 11-cr-05619-JAH-1,

charging him with attempted entry after deportation and was sentenced to 27

months of imprisonment. Thus, as defendant’s sentence in 11-cr-05619-JAH-1

encompasses the same behavior described in the government’s petition (Doc. 533)

and defendant’s sentence exceeded the guideline sentence recommended in the

government’s petition, the government moves to dismiss its petition (Doc. 533),

terminate the warrant (Doc. 535), and lift the detainer filed in this case. The

government further moves to discharge the remainder of defendant’s supervised

release which was originally scheduled to end in May of 2012, as it is

unwarranted due to defendant’s sentence in 11-cr-05619-JAH-1. The government

further relates that it has discussed the foregoing with U.S. Probation Officer

Kevin Rayman and states he has no objection to the above actions.

      Accordingly, the Court GRANTS the government’s motion. Thus, the

government’s petition is DISMISSED (Doc. 533), the warrant is QUASHED (Doc.

535), and the detainer previously placed on this defendant is hereby lifted.

Further, the remainder of defendant’s supervised release is DISCHARGED.

Thus, defendant’s motion is rendered MOOT (Doc. 540).
                                                                  Digitally signed by David
IT IS SO ORDERED.                                                 R. Herndon
                                                                  Date: 2012.08.03 16:27:53
Signed this 3rd day of August, 2012.                              -05'00'
                                                   Chief Judge
                                                   United States District Court




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